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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION


SHARON BAUER, et al.,

                              Plaintiffs,

       v.
                                                           Civ. Action No. 8:20-cv-01212-PJM
MARC ELRICH in his official capacity as
Montgomery County Executive, et al.,

                              Defendants.




              UNOPPOSED MOTION FOR EXTENSION OF TIME
      TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFFS’ COMPLAINT

       Defendants Marc Elrich and Raymond L. Crowel (“Defendants”) through their

undersigned counsel, respectfully submit this unopposed motion to extend the time by which to

file their answer or otherwise respond to Plaintiffs Sharon Bauer and Richard Jurgena’s

(“Plaintiffs’”) complaint. This is Defendants’ first request for an extension of time. In support

this motion, Defendants state as follows:

       1.       On May 11, 2020, Plaintiffs filed this action in the Circuit Court for Montgomery

County against Defendants in their official capacities. See Notice of Removal, Dkt. 1, Ex. 7.

Plaintiffs allege that Montgomery County’s Emergency Assistance Relief Payment (“EARP”)

Program violates 8 U.S.C. § 1621 and seek declaratory and injunctive relief enjoining

Defendants from using taxpayer monies for the program. Compl. ¶ 1-2 & p. 6. Plaintiffs moved

for a temporary restraining order (“TRO”) the same day. See Notice of Removal, Dkt. 1, Ex. 6.

       2.       Defendants were served with the Complaint on May 13, 2020. See Notice of

Removal, Dkt. 1, Ex. 1. Under Fed. R. Civ. P. 12(a)(1)(A)(i), Defendants’ responsive pleading
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is currently due 21 days thereafter, which is June 3, 2020.

       3.       On May 13, 2020, Defendants removed the case to this Court. See Notice of

Removal, Dkt. 1, Ex. 1.

       4.       On May 15, 2020, this Court held a telephonic hearing on Plaintiffs’ pending

TRO motion. Immediately after that hearing, the Court entered a briefing schedule for the

Parties’ Cross Motions for Summary Judgement. Memorandum Order to Counsel Re. Briefing

Schedule, Dkt. 20. Under that schedule, the Parties’ respective Motions for Summary Judgement

will not be fully briefed until June 10, 2020. See id.

       5.       As the 21-day period to file a responsive pleading expires before briefing will be

complete on the Parties’ Motions for Summary Judgment, undersigned counsel request an

extension of the deadline to file any responsive pleading until 14 days after any ruling on those

motions that does not dispose of the Complaint in its entirety. Such extension would obviate the

need for filings that could be rendered unnecessary by the Court’s ruling, and would afford

Defendants sufficient time after any adverse ruling on the Motions for Summary Judgment to

fully prepare a responsive pleading to Plaintiffs’ allegations.

       6.       Pursuant to Local Rule 105.9, counsel for Defendants conferred with Plaintiffs’

counsel regarding this motion via email on May 19 and 20, 2020, and Plaintiffs’ counsel stated

that they do not oppose an extension until such time as the Court has ruled on the parties’

Motions for Summary Judgment.

       WHEREFORE, Defendants respectfully request an extension of the deadline to respond

to Plaintiffs’ Complaint until 14 days after the Court has ruled on the parties’ Cross Motions for

Summary Judgment.
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Dated: May 29, 2020                    Respectfully submitted,


                                       s/ Alexandra Stewart

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